                   Case 22-12761                          Doc 15                Filed 11/15/22 Entered 11/15/22 16:45:55                                                                Desc Main
                                                                                 Document     Page 1 of 32

Fill in this information to identify your case and this filing:

                     John R. Garber
Debtor 1
                     First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of
Illinois
                                                                                                                                                                                                        Check if this is
Case number 22-12761                                                                                                                                                                                    an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 1205 W Schubert Ave.                                                       Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Chicago IL              60614
                                                                                   Land                                                                         $ 1,500,000.00                      $ 1,500,000.00
            City        State       ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Cook County                                                            Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check                                     Tenancy by the Entireties
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤       $ 1,500,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤             $ 0.00



                                                                                                                                                                                                                page 1 of 6
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Debtor 1         John R. Garber
                First Name          Middle Name          Last Name
                                                                                 Document     Page 2 of 32       Case number(if known) 22-12761



 Part 3:       Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
        Examples: Major appliances, furniture, linens, china, kitchenware
             No
             Yes. Describe...

        Household Goods, Furnishings & Artwork                                                                                                                                                       $ 7,000.00
  7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                  collections; electronic devices including cell phones, cameras, media players, games

             No
             Yes. Describe...

        4 TVs                                                                                                                                                                                        $ 2,500.00
  8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...
  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...

        Golf Clubs, Tennis Rackets                                                                                                                                                                   $ 100.00
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Men's Clothing                                                                                                                                                                               $ 2,500.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 12,100.00



 Part 4:       Describe Your Financial Assets



                                                                                                                                                                                                                   page 2 of 6
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Debtor 1        John R. Garber
              First Name            Middle Name           Last Name
                                                                                    Document     Page 3 of 32       Case number(if known) 22-12761



 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.
  16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

           No
           Yes..............................................................................................................................................   Cash ...........................    $ 200.00
  17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

           No
           Yes..................                                   Institution name:
       17.1. Checking account:                                    Hinsdale Bank & Trust Co., N.A. Acct#9000                                                                                        $ 0.45

       17.2. Checking account:                                    Wintrust Bank, N.A. Mont Clare #5395                                                                                             $ 235.20

  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
       Institution or issuer name:
       Sorrento Therapeutics Inc.                                                                                                                                                                 $ 60.04
       Cenntro                                                                                                                                                                                    $ 455.26
       E*Trade Securities, LLC                                                                                                                                                                    $ 964.00
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
       Name of entity:                                                                                                                                         % of ownership:
       Chatham Advisors LLC                                                                                                                                    100                %               $ 1.00
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
           Yes. Give specific information about them...

                                                                                                                                                                                                               page 3 of 6
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                First Name          Middle Name          Last Name
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  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

        Real Estate Broker's License #475176013                                                                                                                                                      $ Unknown

 Money or property owed to you?                                                                                                                                                                    Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                                                              Federal:                             $ 0.00
                                                                                                                                                              State:                               $ 0.00
                                                                                                                                                              Local:                               $ 0.00

  29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
        Company name:                                                                                                             Beneficiary:                                                     Surrender or
                                                                                                                                                                                                   refund value:
        Northwestern Mutual - Term 75 ($1 Million)                                                                                Andrea Garber                                                    $ 1.00
        Homeowner's Ins.-Cambridge Mutual Fire Ins. Co.                                                                           N/A                                                              $ 0.00
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤             $ 1,916.95


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.




                                                                                                                                                                                                                   page 4 of 6
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                First Name          Middle Name          Last Name
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  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  38. Accounts receivable or commissions you already earned
             No
             Yes. Describe...
  39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic
                  devices

             No
             Yes. Describe...
  40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
             No
             Yes. Describe...
  41. Inventory
             No
             Yes. Describe...
  42. Interests in partnerships or joint ventures
             No
             Yes. Describe........
        Name of entity:                                                                                                                                              % of ownership:
        Garber & Sons Partnership                                                                                                                                    12            %                 $ 1.00
        99th Street Ridgeland Plaza, LLC                                                                                                                             12            %                 $ 1.00
  43. Customer lists, mailing lists, or other compilations
             No
             Yes.Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
  44. Any business-related property you did not already list
             No
             Yes. Give specific information ...........

 45. Add the dollar value of the portion you own for all of your entries from Part 5, including any entries for pages
      you have attached for Part 5. Write that number here...........................................................................................................................................➤            $ 2.00


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

             No
             Yes. Give specific
            information...

        Saddle & Cycle Club non-equity membership




 54. Add the dollar value of all of your entries from Part 7. Write that number here                                           ................................................➤
                                                                                                                                                                                                                  $ 0.00




                                                                                                                                                                                                                page 5 of 6
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Debtor 1            John R. Garber
                  First Name            Middle Name           Last Name
                                                                                        Document     Page 6 of 32       Case number(if known) 22-12761



 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                       $ 1,500,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 0.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 12,100.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 1,916.95
  59. Part 5: Total business-related property, line 45                                                                         $ 2.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 14,018.95                      Copy personal property total➤   +$
                                                                                                                                                                                                      14,018.95
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                               $ 1,514,018.95




                                                                                                                                                                                                           page 6 of 6
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 Fill in this information to identify your case:

                     John R. Garber
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Illinois District of __________
                                                                                   (State)
 Case number
  (If known)
                      22-12761
                     ___________________________________________                                                                                 Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property               portion you own                         exemption you claim

                                                           Copy the value from                     Check only one box
                                                           Schedule A/B                            for each exemption
                 1205 W Schubert Ave.                                                                                             735 Ill. Comp. Stat. 5/12-901 735 Ill.
 Brief                                                                                                                            Comp. Stat. 5/12-906 735 Ill. Comp.
 description:
                                                                   1,500,000.00
                                                                  $________________             15,000.00
                                                                                             ✔ $ ____________
                                                                                                                                  Stat. 5/12-902
                                                                                              100% of fair market value, up to
 Line from                                                                                       any applicable statutory limit
 Schedule A/B:         1.1
                 Clothing - Men's Clothing                                                                                        735 Ill. Comp. Stat. 5/12-1001 (a)
 Brief
 description:
                                                                    2,500.00
                                                                  $________________             2,500.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
 Line from                                                                                       any applicable statutory limit
 Schedule A/B:         11
                 Cash (Cash on Hand)                                                                                              735 Ill. Comp. Stat. 5/12-1001 (b)
 Brief
 description:
                                                                    200.00
                                                                  $________________             200.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
 Line from                                                                                       any applicable statutory limit
 Schedule A/B:           16

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                           page 1 of __
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Debtor          John R. Garber                       Document
               _______________________________________________________
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                                                                                 Case number (if known)_____________________________________
                First Name     Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                              Amount of the                        Specific laws that allow exemption
                                                                     Current value of the   exemption you claim
         on Schedule A/B that lists this property                    portion you own
                                                                    Copy the value from    Check only one box
                                                                     Schedule A/B           for each exemption
               E*Trade Securities, LLC (Brokerage)                                                                                735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       964.00
                                                                      $________________        964.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         18
               Sorrento Therapeutics Inc.                                                                                         735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:                                                          $________________
                                                                       60.04                
                                                                                            ✔ $ ____________
                                                                                                60.04
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:         18
               Cenntro                                                                                                            735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:                                                          $________________
                                                                       455.26               
                                                                                            ✔ $ ____________
                                                                                                455.26
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:        18
               Chatham Advisors LLC                                                                                               735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       1.00
                                                                      $________________      $ ____________
                                                                                            
                                                                                            ✔ 100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:        19
               Northwestern Mutual - Term 75 ($1 Million)                                                                         735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       1.00
                                                                      $________________        1.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         31
               Garber & Sons Partnership                                                                                          735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       1.00
                                                                      $________________      $ ____________
                                                                                            
                                                                                            ✔ 100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:          42
               99th Street Ridgeland Plaza, LLC                                                                                   735 Ill. Comp. Stat. 5/12-1001 (b)
Brief
description:
                                                                       1.00
                                                                      $________________      $ ____________
                                                                                            
                                                                                            ✔ 100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:           42

Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                          $________________      $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:


 Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                  2
                                                                                                                                                   page ___ of __ 2
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  Fill in this information to identify your case:

  Debtor 1           John R. Garber
                     First Name                             Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name
                                                                  Last Name



  United States Bankruptcy Court for the: Northern District of Illinois

  Case number 22-12761                                                                                                                             Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                            Describe the property that secures the claim: $ 2,341,438.00     $ 1,500,000.00    $ 841,438.00

                                                             1205 W Schubert Ave., Chicago, IL 60614 - $1,500,000.00
       CitiMortgage, Inc.
       Creditor’s Name
       c/o Ira T. Nevel, LLC
       Number        Street
                                                            As of the date you file, the claim is: Check all
       175 N. Franklin St., Ste. 201                        that apply.
                                                               Contingent
       Chicago IL             60606                            Unliquidated
       City          State    ZIP Code
                                                               Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                      Nature of lien. Check all that apply.
         Debtor 2 only                                         An agreement you made (such as mortgage or
                                                               secured car loan)
         Debtor 1 and Debtor 2 only
                                                               Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another
                                                               Judgment lien from a lawsuit
              Check if this claim relates to a                 Other (including a right to offset)
              community debt
                                                            Last 4 digits of account number
       Date debt was incurred 05/29/2007




Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                    page 1 of 2
                 John R. Garber
Debtor             Case 22-12761
                First Name         Middle Name      Doc 15
                                                 Last Name         Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                                    Case number(if known) Main
                                                                   Document      Page 10 of 32
 2.2                                                           Describe the property that secures the claim: $ Unknown                      $ 0.00           $ Unknown

                                                              - $0.00
        Cook County Treasurer
        Creditor’s Name
        118 N. Clark Street, Ste. 112
        Number       Street
                                                             As of the date you file, the claim is: Check all
        Chicago IL              60602                        that apply.
        City         State      ZIP Code
                                                                Contingent
        Who owes the debt? Check one.                           Unliquidated
          Debtor 1 only                                         Disputed
          Debtor 2 only
          Debtor 1 and Debtor 2 only                         Nature of lien. Check all that apply.
          At least one of the debtors and another               An agreement you made (such as mortgage or
                                                                secured car loan)
               Check if this claim relates to a                 Statutory lien (such as tax lien, mechanic’s lien)
               community debt                                   Judgment lien from a lawsuit
                                                                Other (including a right to offset)
        Date debt was incurred
                                                             Last 4 digits of account number

 2.3                                                           Describe the property that secures the claim: $ 287,958.00                   $ 1,500,000.00   $ 0.00

                                                              1205 W Schubert Ave., Chicago, IL 60614 - $1,500,000.00 Home
        Huntington National Bank
                                                              Equity Line of Credit
        Creditor’s Name
        c/o Andrew Soloman
        Number       Street
                                                             As of the date you file, the claim is: Check all
        2361 Morse Rd NC2W21                                 that apply.
                                                                Contingent
        Columbus OH              43229                          Unliquidated
        City            State    ZIP Code
                                                                Disputed
        Who owes the debt? Check one.
          Debtor 1 only                                      Nature of lien. Check all that apply.
          Debtor 2 only                                         An agreement you made (such as mortgage or
                                                                secured car loan)
          Debtor 1 and Debtor 2 only
                                                                Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another
                                                                Judgment lien from a lawsuit
               Check if this claim relates to a                 Other (including a right to offset)
               community debt
                                                             Last 4 digits of account number 8701
        Date debt was incurred

       Add the dollar value of your entries in Column A on this page. Write that number here:                        $ 2,629,396.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

         Central Loan Admin                                                       On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                          Last 4 digits of account number
         425 Phillips Blvd.
         Number        Street
         Ewing NJ             08618-1430
         City       State     ZIP Code




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 2
                  Case 22-12761                          Doc 15     Filed 11/15/22 Entered 11/15/22 16:45:55                                    Desc Main
                                                                    Document      Page 11 of 32
   Fill in this information to identify your case:

                   John R. Garber
   Debtor 1
                   First Name                                 Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: Northern District of Illinois

   Case number 22-12761                                                                                                                                     Check if this is
   (if know)                                                                                                                                                an amended
                                                                                                                                                            filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                  Total claim    Priority      Nonpriority
                                                                                                                                                 amount        amount
  2.1                                                                     Last 4 digits of account number
         City of Chicago Department of Finance                                                                                    $ 3,000.00    $ 0.00         $ 3,000.00
         Priority Creditor's Name
                                                                          When was the debt incurred?

         121 N. LaSalle St.                                               As of the date you file, the claim is: Check all
         Number        Street                                             that apply.
         7th Floor                                                           Contingent
                                                                             Unliquidated
         Chicago IL             60602                                        Disputed
         City          State    ZIP Code

         Who owes the debt? Check one.                                    Type of PRIORITY unsecured claim:
                                                                             Domestic support obligations
             Debtor 1 only
                                                                             Taxes and certain other debts you owe the
             Debtor 2 only
                                                                             government
             Debtor 1 and Debtor 2 only                                      Claims for death or personal injury while you were
             At least one of the debtors and another                         intoxicated
             Check if this claim relates to a community                     Other. Specify
             debt
         Is the claim subject to offset?
             No
             Yes
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                               page 1 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name             Middle Name      Doc 15
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  4.1                                                                Last 4 digits of account number 9626
          Advocate Medical                                                                                                              $ 4,007.85
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          1 Advocate Health Care                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          PO Box 3039                                                   Unliquidated
                                                                        Disputed
          Oak Brook IL                  60522-3039
          City                State     ZIP Code                     Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                Last 4 digits of account number
          American Honda Finance                                                                                                       $ 21,564.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 12/13/2016

          2170 Point Blvd Ste 100                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Elgin IL              60123                                   Unliquidated
          City      State       ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Auto Loan
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                Last 4 digits of account number
          Arthur and Lisa Holstein                                                                                                     $ Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          1032 W. Altgeld                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Chicago IL                  60614                             Unliquidated
          City         State          ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                      page 2 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name        Middle Name      Doc 15
                                                 Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                              Case number(if known) Main
                                                             Document      Page 13 of 32
  4.4                                                           Last 4 digits of account number
          Athletico                                                                                                               $ 7,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          1323 W. Diversey Pkwy.                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          Chicago IL             60614                             Unliquidated
          City         State     ZIP Code
                                                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                     Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                       Student loans
              Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community           debts
              debt                                                Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.5                                                           Last 4 digits of account number
          Becca Coggins                                                                                                           $ Unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          2619 N. Magnolia                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          Chicago IL             60614                             Unliquidated
          City         State     ZIP Code
                                                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                     Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                       Student loans
              Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community           debts
              debt                                                Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.6                                                           Last 4 digits of account number
          Brennan Masonry Company                                                                                                    $ 0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          c/o Peter Berg, Registered Agent                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          2100 W. 35th St.                                         Unliquidated
                                                                   Disputed
          Chicago IL             60609
          City         State     ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                     page 3 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name           Middle Name         Doc 15
                                                       Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
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                                                                   Document      Page 14 of 32
  4.7                                                                 Last 4 digits of account number
          Building Technology Consultants                                                                                                $ 9,731.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          1845 E. Rand Rd.                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Suite L-100                                                    Unliquidated
                                                                         Disputed
          Arlington Heights IL                 60004
          City                        State    ZIP Code               Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.8                                                                 Last 4 digits of account number
          Capital One/Neiman Marcus                                                                                                       $ 934.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 04/02/2000

          PO Box 31293                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Salt Lake City UT               84131                          Unliquidated
          City                   State    ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.9                                                                 Last 4 digits of account number
          Citibank Customer Service                                                                                                     $ 65,000.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 6500                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Sioux Falls SD              57117                              Unliquidated
          City                State   ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                      page 4 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name        Middle Name      Doc 15
                                                 Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                              Case number(if known) Main
                                                             Document      Page 15 of 32
  4.10 City of Chicago - Water                                  Last 4 digits of account number 3221
                                                                                                                                     $ 902.26
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          333 S. State Street                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          Suite 419                                                Unliquidated
                                                                   Disputed
          Chicago IL             60604
          City         State     ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                           Student loans
              Debtor 1 only                                        Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                           debts
              At least one of the debtors and another             Other. Specify Utility Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.11 Duggan Bertsch, LLC                                      Last 4 digits of account number
                                                                                                                                   $ 33,415.88
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          c/o Brian C. Konkel                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          303 W. Madison St., Suite 1000                           Unliquidated
                                                                   Disputed
          Chicago IL             60606
          City         State     ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                            Student loans
              Debtor 1 only                                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              Debtor 2 only
                                                                    Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                            debts
              At least one of the debtors and another              Other. Specify Chatham Advisors, LLC; 99th Street
              Check if this claim relates to a community        Ridgeland Plaza, LLC; and Garber & Sons Partnership
              debt
          Is the claim subject to offset?
              No
              Yes

  4.12 Evanston Lumber                                          Last 4 digits of account number
                                                                                                                                   $ Unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          1001 Sherman Ave.                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          Evanston IL             60202                            Unliquidated
          City           State    ZIP Code
                                                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                     Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                       Student loans
              Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community           debts
              debt                                                Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                       page 5 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name           Middle Name      Doc 15
                                                    Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
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  4.13 Hamlin Park Baseball Association, Inc.                      Last 4 digits of account number
                                                                                                                                       $ 3,500.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 577226                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Chicago IL                60657                             Unliquidated
          City          State       ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.14 Jay Jacob’s                                                 Last 4 digits of account number
                                                                                                                                     $ 300,000.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

                                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          .         .           .                                     Unliquidated
          City      State       ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.15 Jim Higgins                                                 Last 4 digits of account number
                                                                                                                                      $ 10,000.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          Town and Country Contractors, Inc.                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          9500 W. Ogden Ave., Suite C                                 Unliquidated
                                                                      Disputed
          Brookfield IL              60513
          City            State      ZIP Code                      Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify Monies Loaned / Advanced
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                       page 6 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name             Middle Name      Doc 15
                                                      Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                                   Case number(if known) Main
                                                                  Document      Page 17 of 32
  4.16 Kristen & Michael Bellavia                                    Last 4 digits of account number
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          2652 N. Racine - Unit 2                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Chicago IL                  60614                             Unliquidated
          City         State          ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.17 Lance Lauderdale                                              Last 4 digits of account number
                                                                                                                                       $ 300,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          743 McClintock Dr.                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Burr Ridge IL                 60527-6483                      Unliquidated
          City                State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.18 Mark Coutre                                                   Last 4 digits of account number
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          2652 N. Racine - Unit 3                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Chicago IL                  60614                             Unliquidated
          City         State          ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                       page 7 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name            Middle Name      Doc 15
                                                     Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
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  4.19 Mark Nafe & Silvia Vetesse                                   Last 4 digits of account number
                                                                                                                                       $ Unknown
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          1604 Lincoln St.                                          As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Evanston IL                 60201-2341                       Unliquidated
          City            State       ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.20 Mary Tolan                                                   Last 4 digits of account number
                                                                                                                                       $ Unknown
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          10890 Killarney Lane                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          Gobles MI                 49055-9021                         Unliquidated
          City          State       ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.21 Matt Mantei                                                  Last 4 digits of account number
                                                                                                                                      $ 700,000.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

                                                                    As of the date you file, the claim is: Check all that apply.
          Number         Street                                        Contingent
          .         .           .                                      Unliquidated
          City      State       ZIP Code
                                                                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                       page 8 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name        Middle Name       Doc 15
                                                  Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                               Case number(if known) Main
                                                              Document      Page 19 of 32
  4.22 McEvoy & Sons Masonry                                     Last 4 digits of account number
                                                                                                                                   $ Unknown
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          33 Clark St.                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Derby CT             06418                                Unliquidated
          City      State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.23 Noah Isaackson                                            Last 4 digits of account number
                                                                                                                                   $ Unknown
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          2619 N. Magnolia                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Chicago IL             60614                              Unliquidated
          City         State     ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.24 Northwestern Medicine                                     Last 4 digits of account number 2770
                                                                                                                                    $ 395.52
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 4090                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Carol Stream IL              60197-4090                   Unliquidated
          City                 State   ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                     page 9 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name         Middle Name      Doc 15
                                                  Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                               Case number(if known) Main
                                                              Document      Page 20 of 32
  4.25 Northwestern Medicine                                     Last 4 digits of account number 3948
                                                                                                                                    $ 144.52
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          PO Box 4090                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Carol Stream IL              60197-4090                   Unliquidated
          City                 State   ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.26 Novacare Rehabilitation                                   Last 4 digits of account number 84XX
                                                                                                                                   $ 2,263.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 11/28/2017

          c/o Nationwide Recovery SV                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          PO Box 8005                                               Unliquidated
                                                                    Disputed
          Cleveland TN             37320
          City            State    ZIP Code                      Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                            Student loans
              Debtor 1 only                                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              Debtor 2 only
                                                                    Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                            debts
              At least one of the debtors and another              Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.27 Peggy Coutre                                              Last 4 digits of account number
                                                                                                                                   $ Unknown
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          2652 N. Racine - Unit 3                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                      Contingent
          Chicago IL              60614                             Unliquidated
          City         State      ZIP Code
                                                                    Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                    page 10 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name        Middle Name      Doc 15
                                                 Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                              Case number(if known) Main
                                                             Document      Page 21 of 32
  4.28 Robert Garber Jr.                                        Last 4 digits of account number
                                                                                                                                  $ 1,000,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          360 W. Illinois St., Unit #4B                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          Chicago IL             60654-5244                        Unliquidated
          City         State     ZIP Code
                                                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                     Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                       Student loans
              Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community           debts
              debt                                                Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.29 Samantha Birkel                                          Last 4 digits of account number
                                                                                                                                     $ Unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          2652 N. Racine - Unit 1                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          Chicago IL             60614                             Unliquidated
          City         State     ZIP Code
                                                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                     Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                       Student loans
              Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community           debts
              debt                                                Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.30 SOR Construction                                         Last 4 digits of account number
                                                                                                                                     $ Unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?

          3101 N. Kedzie Ave., Ste. 1F                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                     Contingent
          Chicago IL             60618                             Unliquidated
          City         State     ZIP Code
                                                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                     Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                       Student loans
              Debtor 1 and Debtor 2 only                           Obligations arising out of a separation agreement or divorce
                                                                   that you did not report as priority claims
              At least one of the debtors and another              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community           debts
              debt                                                Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                        page 11 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name             Middle Name      Doc 15
                                                      Last Name   Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                                   Case number(if known) Main
                                                                  Document      Page 22 of 32
  4.31 The Lauder Group, LLC                                         Last 4 digits of account number
                                                                                                                                       $ 300,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          743 Mcclintock Dr.                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Burr Ridge IL                 60527                           Unliquidated
          City                State     ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.32 Vans Steel Febricators                                        Last 4 digits of account number
                                                                                                                                         $ 5,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          223 S Lindberg St.                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          Griffith IN            46319                                  Unliquidated
          City       State       ZIP Code
                                                                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.33 Wendy Labrum                                                  Last 4 digits of account number
                                                                                                                                        $ 15,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          c/o Wendy Labrum Interiors, Inc.                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                          Contingent
          1113 W. Armitage Ave., 2RE                                    Unliquidated
                                                                        Disputed
          Chicago IL                  60614
          City         State          ZIP Code                       Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                      page 12 of 14
                  John R. Garber
 Debtor             Case 22-12761
                 First Name         Middle Name      Doc 15
                                                  Last Name      Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                                  Case number(if known) Main
                                                                 Document      Page 23 of 32
  4.34 Zach Novak                                                  Last 4 digits of account number
                                                                                                                                                                $ Unknown
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          2652 N. Racine - Unit 1                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                        Contingent
          Chicago IL              60614                               Unliquidated
          City         State      ZIP Code
                                                                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        James M. Duggan                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                              Line 4.11 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        303 W. Madison St.
        Number       Street                                                                                         Part 2: Creditors with Nonpriority Unsecured
        Suite 1000                                                            Claims
                                                                              Last 4 digits of account number
        Chicago IL               60606
        City         State       ZIP Code


        Northwestern Medicine                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                              Line 4.24 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 1259
        Number       Street                                                                                         Part 2: Creditors with Nonpriority Unsecured
        Oaks PA               19456                                           Claims
        City      State       ZIP Code
                                                                              Last 4 digits of account number 2770

   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                              Total claim

   Total claims           6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                          6b. Taxes and certain other debts you owe the                             6b.   $ 3,000.00
                          government
                          6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                              intoxicated
                          6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                              amount here.
                          6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                           $ 3,000.00




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 13 of 14
                John R. Garber
 Debtor           Case 22-12761
               First Name     Middle Name      Doc 15
                                            Last Name         Filed 11/15/22 Entered 11/15/22 16:45:55         Desc22-12761
                                                                                               Case number(if known) Main
                                                              Document      Page 24 of 32
                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 2,778,858.03
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 2,778,858.03




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                page 14 of 14
                 Case 22-12761                      Doc 15         Filed 11/15/22 Entered 11/15/22 16:45:55                             Desc Main
                                                                   Document      Page 25 of 32
  Fill in this information to identify your case:

  Debtor 1
                     John R. Garber
                      First Name                                   Last Name
                                              Middle Name

  Debtor 2
  (Spouse, if filing) First Name                   Middle Name
                                                                         Last Name



  United States Bankruptcy Court for the: Northern District of Illinois

  Case number 22-12761                                                                                                                        Check if this is
  (if know)                                                                                                                                   an amended
                                                                                                                                              filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                             State what the contract or lease is for

 2.1                                                                                          High School
          St. Ignatius College Prep
          Name
          1076 Roosevelt Road
          Street
          Chicago IL               60608
          City          State      ZIP Code




Official Form 106G                                               Schedule G: Executory Contracts and Unexpired Leases                                 page 1 of 1
                 Case 22-12761                  Doc 15     Filed 11/15/22 Entered 11/15/22 16:45:55                             Desc Main
                                                           Document      Page 26 of 32
Fill in this information to identify your case:

Debtor 1
                 John R. Garber
                  First Name                         Last Name
                                  Middle Name

Debtor 2
(Spouse, if filing) First Name         Middle Name
                                                          Last Name



United States Bankruptcy Court for the: Northern District of Illinois

Case number 22-12761                                                                                                                       Check if this is
(if know)                                                                                                                                  an amended
                                                                                                                                           filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                                                                                              Check all schedules that apply:
3.1     Andrea L. Garber                                                                          Schedule D, line 2.1
        Name                                                                                      Schedule E/F, line
        1205 W Schubert Ave.                                                                      Schedule G, line
        Street
        Chicago                                                  IL       60614
        City                                                     State    ZIP Code

3.2     Andrea L. Garber                                                                          Schedule D, line
        Name                                                                                      Schedule E/F, line
        1205 W Schubert Ave.                                                                      Schedule G, line 2.1
        Street
        Chicago                                                  IL       60614
        City                                                     State    ZIP Code

3.3     Garber Construction                                                                       Schedule D, line
        Name                                                                                      Schedule E/F, line 4.10
        1205 W. Schubert Ave.                                                                     Schedule G, line
        Street
        Chicago                                                  IL       60614-1217
        City                                                     State    ZIP Code




Official Form 106H                                                       Schedule H: Your Codebtors                                               page 1 of 1
                 Case 22-12761              Doc 15           Filed 11/15/22 Entered 11/15/22 16:45:55                            Desc Main
                                                             Document      Page 27 of 32
 Fill in this information to identify your case:

                      John R. Garber
 Debtor 1           ____________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of Illinois District
                                                                                      tate)
 Case number            22-12761
                     ___________________________________________                                          Check if this is:
  (If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter 13
                                                                                                             income as of the following date:
                                                                                                             ________________
Official Form 106I                                                                                           MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                               Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional           Employment status                 Employed                                    Employed
    employers.                                                              
                                                                            ✔ Not employed                               
                                                                                                                         ✔ Not employed
    Include part-time, seasonal, or
    self-employed work.
                                           Occupation                     __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                           Employer’s name                __________________________________            __________________________________


                                           Employer’s address             _______________________________________     ________________________________________
                                                                           Number Street                               Number    Street

                                                                          _______________________________________     ________________________________________

                                                                         _______________________________________      ________________________________________

                                                                          _______________________________________     ________________________________________
                                                                           City            State  ZIP Code              City                State ZIP Code

                                           How long employed there?________________________                             ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1       For Debtor 2 or
                                                                                                                        non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.              2.            0.00                   0.00
                                                                                                    $___________          $____________

 3. Estimate and list monthly overtime pay.                                                   3.   + $___________
                                                                                                             0.00      + $____________
                                                                                                                                  0.00

 4. Calculate gross income. Add line 2 + line 3.                                              4.            0.00
                                                                                                    $__________                    0.00
                                                                                                                          $____________




Official Form 106I                                                    Schedule I: Your Income                                                    page 1
                Case  22-12761
                John R. Garber
                                                     Doc 15             Filed 11/15/22 Entered 11/15/22 16:45:55 Desc Main
Debtor 1         _______________________________________________________                                                22-12761
                 First Name         Middle Name               Last Name
                                                                        Document      Page 28 of Case
                                                                                                  32 number (if known)_____________________________________
                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.          0.00
                                                                                                                        $___________                  0.00
                                                                                                                                              $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5e. Insurance                                                                                               5e.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
                                                                                                                               0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.            0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00                    0.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                    0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8h. Other monthly income. Specify: _______________________________
                                         Gifts                                                                   8h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                 10,000.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________            10,000.00
                                                                                                                                              $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                               0.00
                                                                                                                        $___________    +        10,000.00
                                                                                                                                              $_____________      = $_____________
                                                                                                                                                                      10,000.00

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                      10,000.00
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
                  Case 22-12761             Doc 15          Filed 11/15/22 Entered 11/15/22 16:45:55                                     Desc Main
                                                            Document      Page 29 of 32
  Fill in this information to identify your case:

                     John R. Garber
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Northern District of Illinois
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________        District of __________                   expenses as of the following date:
                                                                                     (State)
                       22-12761                                                                                  ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Son                                      20            No
                                                                                          _________________________                ________
   names.                                                                                                                                        
                                                                                                                                                 ✔ Yes
                                                                                           Son
                                                                                          _________________________                 20
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes
                                                                                           Daughter
                                                                                          _________________________                 18
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes
                                                                                           Son
                                                                                          _________________________                 15
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes

                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      360.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                   200.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                   200.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
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                                                                 Document      Page 30 of 32
                    John R. Garber                                                                                    22-12761
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                    1,200.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                      100.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      450.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                    2,500.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                    3,300.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      500.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      120.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      550.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      700.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      150.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                 208.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                         0.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                      167.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                         0.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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                   John R. Garber                                                                                       22-12761
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                10,705.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                10,705.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      10,000.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                10,705.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                   -705.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
       Yes.
      ✔             Explain here:   Yes. I will have to find alternative housing and will most likely have a monthly rent payment.




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
                    Case 22-12761             Doc 15       Filed 11/15/22 Entered 11/15/22 16:45:55                             Desc Main
                                                           Document      Page 32 of 32
Fill in this information to identify your case:

Debtor 1           John R. Garber
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Illinois District of __________
                                                                                (State)
Case number         22-12761
                    ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ John R. Garber
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              11/14/2022
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
